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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
. EASTERN DIVISION

PLUMBERS’ PENSION FUND, LOCAL 130, U. A.,
PLUMBERS’ WELFARE FUND, LOCAL 139, U. A.,
THE TRUST FUND FGR APPRENTICE AND
JOURNEYMAN EDUCATION AND TRAINING,
LOCAL 130, U. A., PLUMBERS RETIREMENT
SAVINGS PLAN FUND, LOCAL 130, U. A., and
CHICAGO JOURNEYMAN PLUMBERS’ LOCAL
UNION 130, U. A., GROUP LEGAL SERVICES PLAN
FUND,

No. 26 CY 05024

Plaintiffs,
v. Hon. Steven C. Seeger

DANIEL PELLEGRINI PLUMBING, LLC.,

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Defendant.
MOTION TO DISMISS COMPLAINT

Now come the Defendant, DANIEL PELLEGRINI PLUMBIN G, LLC., by and through its
attorneys, The Law Firm of David W. Daudell, and for its Motion to Dismiss Plaintiff's Complaint,
pursuant to Rule 12(b)(6), states as follows:
Procedural History

1. Plaintiffs initially filed suit against defendant Pellegrini Plumbing, LLC., in December of
2014, in case number 14 CV 9833, before Judge Zagel. That matter was terminated in November
2016, as a result of Mr. Pellegrini’s bankruptcy filing in Case No. 16 B 150003.

2. Pellegrini Plambing, LLC., and Pellegrini Plumbing (sole proprietorship) were listed as
assets of Mr. Pellegrini in the bankruptcy. As the entities were dissolved, they were listed as having
no assets. Plaintiffs herein (as represented by counsel for Plaintiff), as well as the prior lawsuit, Case

No. 14 CV 9833, were listed as creditors in Mr. Pellegrini’s bankruptcy.
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3. Pellegrini Plumbing, LLC., previously utilized employees, operated out of a leased
premises, concentrated on commercial plumbing | jobs and regularly employed two or more
Journeyman Plumbers. Subsequent to the bankruptcy, Daniel Pellegrini Plumbing, LLC.,
concentrates on small residential work and employs Daniel and his wife, Khristie Pellegrini.

ose of Bankrupic

4. Congress enacted the Bankruptcy Actin 1898, which together with the 1938 Chandler Act
amendments lasted until 1978 when Congress passed the Bankruptcy Reform Act. In2005, Congress
adopted the Bankruptcy Abuse Prevention and Consumer Protection Act. The purpose of bankruptcy
law is to give a debtor a fresh start and to resolve disputes among creditors.

Complaint

5. Plaintiffs herein have made numerous unverified allegations against an Hlinois corporation,
DANIEL PELLEGRINI PLUMBING, LLC. Plaintiffs initially fail to set out a statement of the
grounds for the Court’s jurisdiction, as required by Federal Rule of Civil Procedure 8(a)(1).
Transier Allegations
6. The essence of Plaintiffs’ claim is that Defendant is a “successor in interest” of Pellegrini
Plumbing, LLC. See: Complaint, (Dkt. No. 1), at par. 18. However, as defined in the Miriam-
Webster dictionary, the legal definition of “successor in interest” is as follows:
| a successor to another’s interest in property especially; a successor

in ownership of a business that is carried on and controlled

substantially as it was before the transfer
7. In this instance Plaintiffs have not alleged an interest in property (other than tools and/or
equipment), nor have they adequately alle geda transfer of any property. Plaintiffs also do not explain
why this alleged “transfer” of tools and/or equipment, if unlawful, was not raised in the bankruptcy

proceeding.

 
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Breach of Contract

8. Plaintiffs’ appears to be aitempting to allege the breach of an agreement. See: Complaint,
par. 21. This agreement, attached as Exhibit A, to the Complaint, is with Pellegrini Plumbing
Corporation, (rather than Defendant Daniel Pellegrini Plumbing, LLC.), and was executed on
October 8, 2009. Exhibit A to the Complaint and further states that the Agreement is effective as of
June 1, 1992. See: Exhibit A, par. 4-5. The attached agreement also states that the party to the
agreement “... regularly employees not less than two (2) Journeyman Plumbers...” See: Exhibit A,
Preamble.

9. Plaintiffs have essentially alleged a breach of a written contract, entered into by a different
entity, made over 10 years ago. Further, the Complaint does not allege that the Defendant employed
two or more Journeyman Plumbers as required in the Agreement attached to the Complaint.

10. Rather, Plaintifts maintain that Mr. Pellegrini’s new corporation, employing himself and
his wife and performing residential plumbing based out of his residence, is in essence the same entity
that previously operated out of leased property, perform commercial work and employed multiple
Journeyman Phuimbers.

Incorporation

11. The entire purpose of incorporation is to shield shareholders from corporate hability.
See: Domino's Pizza, inc. v. McDonald's, 546 U.S. 470, 477, 126 S. Ct. 1246, 163 LEd.2d 1069
(2006). Plaintiffs herein ignore this purpose and seek to hold a separate corporation liable for the
contract of another, based in part upon unity of interest and ownership. Plaintiffs have not
adequately alleged that the purpose of corporation in the instant case was for anything other than a

lawful business purposes.

Successor Liability
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12. Under Hinois law, successor lability can occurs when a corporation merges with another
corporation and purchases the business assets thereof. However, the successor corporation does not
become liable for the debts of the prior corporation absent an express agreement to assume the debts
of the prior corporation. General Electric Capital Corp. v. Lease Resolution Corp., 128 F.3d 1074,
1684 (7" Cir. 1997). An exception to the general rule exists for the transaction amounts to a
consolidation or merger of the seller corporation and the purchaser is merely a continuation of the
seller. Id. at 1084.

13. In the instant case, the Defendant, Daniel Pellegrini Plumbing, LLC., was incorporated
on November 7, 2019. The previous entity, Pellegrini Plumbing, LLC., was dissolved on October
14, 2016, three years prior to the formation of the defendant herein. Plaintiffs have failed to make
any allegations that the Defendant herein is a successor corporation liable for the debts of the
previous corporation.

14. Finally, Plaintiffs have not verified their allegations. This allows Plaintiffs to make
inaccurate allegations with regard to the licensing of the separate businesses, as alleged in Paragraph
11 of the Complaint.

Legal

15. “A motion under Rule 12(b)(6) challenges the sufficiency of the complaint to state a
claim upon which relief may be granted.” Hallinan v. Fraternal Order of Police of Chicago Lodge
No. 7,570 F.3d 811, 820 (7* Cir. 2009). A complaint must include a short and plain statement of
the claim showing that the pleader is entitled to relief. Fed. R. Civ. P. 8(aj(2).

16. The Supreme Court requires that a Plaintiff plead facts pursuant to Federal Rule of Civil
Procedure 8(a)(2). That Rule requires that a complaint must include the “grounds” of its perceived

“entitlement to relief’ rather than a blanket assertion of entitlement to relief. Under federal notice
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pleading standards, a plaintiff's “factual allegations must be enough to raise the right to relief above
the speculative level .” Bell Atlantic v. Twombly, 550 US. 344, 555, 127 S.Ct. 1955, 167 LEd.2d
929 (2007); Conley v. Gibson, 355 U.S. 41 (1957).

Argument |

17. IfPlaintiffs are unhappy with the voiding of their claim pursuant to the bankruptcy action,
they should have proceeded in that case as the proper venue. Instead, Plaintiffs have filed the instant
action, absent a claim of jurisdiction, seeking to enforce a contract in excess of 10 years against an
entity that was nota party to the agreement attached to the Complaint. The unverified claim is devoid
of specificity and merely makes generalized claims regarding its cause of action and its entitlement
to relief in this venue.

Conclusion .

18. After seeking and obtaining protection under the bankrupicy statutes, Mr. Pellegrini has
sought a fresh start to conduct his trade. Contrary to well-established bankruptcy and corporate
precedent, Plaintiffs seek to assert a baseless contract claim, in excess of 10 years, against a different
corporate entity.

19. Tn order for the Plaintiffs to proceed against Mr. Pellegrini’s new corporation, they must

present a viable set of allegations in the correct venue. Plaintiffs’ Complaint fails to do so.
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WHEREFORE, for all the above and forgoing reasons, Defendant DANIEL PELLEGRINI
PLUMBING, LLC., prays that this Court dismiss Plaintiffs’ Complaint with prejudice, award

Defendant costs and fees, and for such further relief as this Court deems just and equitable.

Reéspecttully Submitted .

 

 

‘Daniel Pellogtini
Owner, Daniel Pellegrini, LLC

/s/ David Daudell

David Daudell

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